  Case: 1:19-cv-01610 Document #: 276-1 Filed: 11/16/21 Page 1 of 1 PageID #:5324




                                 INDEX OF EXHIBITS


Exhibit 1.   May 1, 2020 email from plaintiffs’ counsel Robert A. Braun, to NAR’s counsel
             Suzanne Wahl, Jack Bierig and Chuck Hatfield, and Sitzer plaintiffs’ counsel
             Brandon Boulware, Matt Dameron and Courtney Stout.

Exhibit 2.   September 16, 2021 email from plaintiffs’ counsel Robert A. Braun to NAR
             counsel Jack Bierig and Suzanne Wahl.

Exhibit 3.   September 28, 2021 email from plaintiffs’ counsel Robert A. Braun to NAR
             counsel Jack Bierig and Suzanne Wahl.

Exhibit 4.   October 6, 2021 email from plaintiffs’ counsel Robert A. Braun to NAR counsel
             Jack Bierig and Suzanne Wahl.

Exhibit 5.   January 21, 2020 email and attachment titled “Plaintiffs’ Proposed NAR Search
             Terms” from Sitzer plaintiffs’ counsel Brandon Boulware to NAR counsel Jack
             Bierig and Suzanne Wahl, copying Moehrl plaintiffs’ counsel Kit A. Pierson and
             Robert A. Braun and Sitzer plaintiffs’ counsel Jeremy Suhr and Courtney Stout.

Exhibit 6.   May 1, 2020 email and attachment titled “2020.05.01 – Search Terms – as
             agreed” from NAR counsel Suzanne Wahl to Moehrl plaintiffs’ counsel Robert A.
             Braun, Sitzer plaintiffs’ counsel Brandon Boulware, Matt Dameron, Jeremy Suhr
             and Courtney Stout, and NAR counsel Jack Bierig and Chuck Hatfield.
